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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




 Bond Pharmacy, Inc. d/b/a
 Advanced Infusion Solutions,

                                   Plaintiff(s),
 v.                                                    Case No. 2:23−mc−51368−LVP−DRG
                                                       Hon. Linda V. Parker
 Anthem Health plan of Virginia,
 Inc. d/b/a Anthem Blue Cross
 and Blue Shield,

                                   Defendant(s),



           ORDER OF REFERENCE TO UNITED STATES MAGISTRATE JUDGE

    IT IS ORDERED that this matter is referred to U.S. Magistrate Judge David R. Grand for all
 pretrial proceedings, including a hearing and determination of all non−dispositive matters
 pursuant to 28 U.S.C. § 636(b)(1)(A) and/or a report and recommendation on all dispositive
 matters pursuant to 28 U.S.C. § 636(b)(1)(B).




                                                   s/Linda V. Parker
                                                   Linda V. Parker
                                                   United States District Judge



                                      Certificate of Service

    I hereby certify that on this date a copy of the foregoing notice was served upon the parties
 and/or counsel of record herein by electronic means or first class U.S. mail.



                                                   s/A Flanigan
                                                   Case Manager

 Dated: September 12, 2023
